Case 13-14287-amc        Doc 68    Filed 10/05/16 Entered 10/05/16 10:14:18          Desc Main
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                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In Re:                                  :
                                        :
Patricia Kubicek                        :
xxx-xx-6283                             :CHAPTER 13
                     Debtor,            :CASE NO. 13-14287/JKF
_________________________________       :
                                        :
MTGLQ Investors L.P.                    :
                     Movant,            :
v.                                      :
                                        :
PATRICIA KUBICEK                        :
                     Debtor,            :
And                                     :Courtroom #3
                                        :
WILLIAM C. MILLER, ESQUIRE              :
                     Trustee            :
                                        :Hearing Date: November 9, 2016
                     Respondents.       :
                                        :
_______________________________________ :


                    WITHDRAW OF MTGLQ INVESTORS L.P.’S
                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY



         MTGLQ Investors L.P., through its Attorney, Emmanuel J. Argentieri, Esquire, hereby

withdraws its motion for relief from stay which was filed with the court on August 30, 2016 and

docketed as Document Number 64.



                                              Respectfully,
                                              Attorneys for Movant

                                              By: /s/ Emmanuel J. Argentieri
                                                 Emmanuel J. Argentieri, Esquire
                                                 PA Attorney ID No. 59264
Dated: October 4, 2016
